Case 2:21-cr-00062 Document 367-4 Filed 09/20/23 Page 1 of 1 PagelD #: 3354

July 20, 2023

Gregg A. Childers

208 Mountain Laurel Road
Daniels, WV 25832
1.304.673.0267

Ms. Lodema Clay
115 Travelers Lane
Beckley, WV 25801
1.304.228.4228

Re: Mr. Larry Clay — Character Witness Letter
To Whom It May Concern:

| have been asked to write a character reference letter for Mr. Larry Clay by his mother Ms. Lodemg.Clay.
| have not seen or heard from Larry for the past 2 years since his arrest. The only thing | know concerning
his arrest is what | saw and heard on the local news. | have no idea what is true or not true concerning
this matter. The only thing | can speak about is Larry’s character before this incident happened.

| have known Larry since he was the owner of Clays Heating and Air Conditioning in Shady Spring WV. |
also knew Larry when he was a Fayette County Deputy Sheriff. We talked often about his business, family
and personal life during those times. He was very proud of the business he had built and the fact he was
a Deputy Sheriff. He enjoyed both careers he had been involved in. But he was always proudest of his
family, especially his son and the enjoyment he got from them.

During these times | had never seen or heard of Larry doing the things he had been accused of. | have
always trusted Larry to be a man of honesty and integrity. And he has never given me any reason to think
otherwise. | know people can change for the better or worse, but | have a really hard time believing the

things Larry has Kool, of are true.

A

| Pray that am correct/ May God Bless Larry that the truth comes out and justice is served properly.

a / sh a

iccrely,

Gregg A. cng i
